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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     TERRANCE DAVIS,                                      Case No. 3:24-cv-00229-MMD-CSD
4                                            Plaintiff                    ORDER
5            v.
6     TASHEENA COOKE, et al.,
7                                       Defendants
8
9           On June 4, 2024, pro se plaintiff Terrance Davis, an inmate in the custody of the
10   Nevada Department of Corrections, submitted a complaint under 42 U.S.C. § 1983. (ECF
11   No. 1-1). But Plaintiff has neither paid the full $405 filing fee for this matter nor filed an
12   application to proceed in forma pauperis. (See ECF No. 1). And although Plaintiff
13   submitted a financial certificate and an inmate trust fund account statement, the Court
14   cannot consider those documents because they are based on outdated information. (See
15   ECF No. 2).
16          This Court must collect filing fees from parties initiating civil actions. 28 U.S.C.
17   § 1914(a). As of December 1, 2023, the fee for filing a civil-rights action is $405, which
18   includes the $350 filing fee and the $55 administrative fee. See 28 U.S.C. § 1914(b). “Any
19   person who is unable to prepay the fees in a civil case may apply to the court for leave to
20   proceed in forma pauperis.” Nev. Loc. R. LSR 1-1. For an inmate to apply for in forma
21   pauperis status, the inmate must submit all three of the following documents to the Court:
22   (1) a completed Application to Proceed in Forma Pauperis for Inmate, which is pages
23   1–3 of the Court’s approved form, that is properly signed by the inmate twice on page 3;
24   (2) a completed Financial Certificate, which is page 4 of the Court’s approved form, that
25   is properly signed by both the inmate and a prison or jail official; and (3) a copy of the
26   inmate’s prison or jail trust fund account statement for the previous six-month
27   period. See 28 U.S.C. § 1915(a)(1)–(2); Nev. Loc. R. LSR 1-2. In forma pauperis status
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1    does not relieve an inmate of his or her obligation to pay the filing fee, it just means that
2    the inmate can pay the fee in installments. See 28 U.S.C. § 1915(b).
3           It is therefore ordered that Plaintiff has until August 13, 2024, to either pay the full
4    $405 filing fee or file a fully complete application to proceed in forma pauperis with all
5    three required documents: (1) a completed application with the inmate’s two signatures
6    on page 3, (2) a completed financial certificate that is signed both by the inmate and the
7    prison or jail official, and (3) a copy of the inmate’s trust fund account statement for the
8    previous six-month period.
9           Plaintiff is cautioned that this action will be subject to dismissal without prejudice if
10   Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff
11   to refile the case with the Court, under a new case number, when Plaintiff can file a
12   complete application to proceed in forma pauperis or pay the required filing fee.
13          The Clerk of the Court is directed to send Plaintiff Terrance Davis the approved
14   form application to proceed in forma pauperis for an inmate and instructions for the same,
15   and to retain the complaint (ECF No. 1-1) but not file it at this time.
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17          DATED THIS 14th day of June 2024.
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19                                               UNITED STATES MAGISTRATE JUDGE
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